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                                          CURRICULUM VITAE
                                                                                                      EXHIBIT

Personal Data


SCOTT A. BRESLER Ph.D., LLC
Scott Alan Bresler, Ph.D., Licensed Psychologist
phone:(513)508-4746
e-mail: scott@drscottbresler.com

Education


DOCTOR OF PHILOSOPHY: Clinical Psychology
                      Georgia State University
                      Atlanta, Georgia
                                Graduated: 1995
                                Dissertation: Neurocoenitive Functioning. Symptomatology.& Social
                                Competence in a Chronic Schizophrenic Sample
                                Bailey Wade Scholarship Award

MASTER OF ARTS:                 Clinical Psychology
                                Georgia State University
                                Atlanta, Georgia
                                Graduated: 1989


MASTER OF ARTS:                 Sports Psychology
                                Teachers College, Columbia University
                                New York, New York
                                Graduated: 1987


BACHELOR OF ARTS:               Psychology
                                School of General Studies
                                Columbia University
                                New York, New York
                                Graduated: 1983


Clinical Experience


8/05 -12/21                     Clinical Director, Division of Forensic Psychiatry,
                                University of Cincinnati Medical Center.
                        Duties: Consultation with corporate entities including risk assessment and fitness
                        for duty evaluations. Forensic evaluations in both criminal and civil matters;
                        Assessment and psychotherapy with private practice patients diagnosed with
                        various behavioral and personality disorders; Teaching and supervision offorensic
                        psychiatry post-doctoral fellows and psychiatry residents.

4/07-12/21                      Associate Professor, University of Cincinnati, Department ofPsychiatry
                                and Behavioral Neuroscience; Director ofInpatient Psychology
                                Consultation-Liaison Services at the University of Cincinnati Medical
                                Center.
                        Duties: Coordination and implementation of inpatient psychology assessment
                        services at the University of Cincinnati Medical Center.
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8/05-3/07                      Neuropsychologist, Daniel Drake Center for Post-Acute Care
                       Duties: Assess patients with various neurocognitive disorders. Consultation with
                       rehabilitation treatment teams.


9/01- 7/05                     Associate Director of Forensic Services, Bridgewater State Hospital
                               Assistant Professor, University of Massachusetts Medical School,
                               Department ofPsychiatry
                       Duties: Coordination and day-to-day management offorensic evaluation service.
                       Forensic Training Committee (Chair), Professional Executive Committee, Risk
                       Team,and Professional Health Enhancement Committee (Chair).

7/94- 8/01                     Research Assistant Professor
                               Department ofPsychology
                               University of Nebraska - Lincoln
                       Duties: Forensic Mental Health Service (0.5 FTE)- Assessments for the Nebraska
                       criminal court system, supervision of doctoral students in the Law/Psychology
                       Program. Geropsychology Project(0.5 FTE)Neuropsychological evaluations,
                       competency assessments(financial and medical decisions), behavioral medicine,
                       organizational consultation, supervision of students.

9/93-6/94                      Psychology Extern
                               Department ofPsychology
                               University of Nebraska - Lincoln
                       Duties: Inpatient psychiatric rehabilitation including neuropsychological evaluation,
                       functional assessment, and behavioral management programming for adults
                       suffering from schizophrenia spectrum disorders.

9/92-8/93                      Psychology Internship(APA approved)
                               Westem Missouri Mental Health Center
                               Kansas City, Missouri
                       Duties: Two major rotations:(1)Forensic psychology including competency and
                       mental state assessments for patients in the criminal court system in the state of
                       Missouri;(2)Outpatient community mental health including psychotherapy with
                       children, adolescents, adults, and families; psychological testing, and
                       neurocognitive assessments.

8/91-7/92                      Psychology Intern
                               South Fulton Mental Health Center
                               East Point, Georgia
                       Duties: Outpatient community mental health with children, adolescents, adults, and
                       families including individual and group psychotherapy, psychological testing, crisis
                       intervention, and Parent Effectiveness Training.

9/88-8/92                      Atlanta Center for Cognitive Therapy
                       Duties: Private Practice(psychotherapy and psychological assessment) with adults

Certifications. Recognitions.& Licensures


Teacher of the Year - University of Cincinnati, Forensic Psychiatry Fellowship: 2007-2008; 2014-2015.
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Licensed to Practice Psychology [License No.6151]- State of Ohio, exp. 09/30/20;[License No.
PSYLIP00211369]-Commonwealth of Kentucky exp. 04/15/2022.

Dialogue Facilitator - completed "Foundations for Dialogue" course with DIA*logos, affiliated with
M.I.T.'s Dialogue Project(March 1999).

Eden Associate - completed the "Train-the-Trainer" course for The Eden Alternative, an innovative
approach to long-term geriatric care ofthe elderly(1997). Have led training workshops in multiple settings
around the United States. Appeared on public radio(KIOS,91.5 FM)show,"Creighton
Healthwise,"(on 4/13/99)to present the Eden Alternative.

Advanced Certification in Cognitive-Behavior Therapy(1992)as part ofan APA approved training
program at the Atlanta Center for Cognitive Therapy. Completed Foimdations in Cognitive-Behavior
Therapy Training Program (1989-1990) at the Atlanta Center for Cognitive Therapy.

Advanced Certification in Interviewing & Interrogation - John E. Reid & Associates, Inc. Cincinnati,
OH-May 19-21,2008

Certified Training in Child Sexual Abuse Investigations-John Reid & Associates, Inc. Columbus, OH -
August 4, 2009



Professional Affiliations


                Ohio Psychological Association

                American Psychology-Law Society

                American Academy of Forensic Sciences
                Program Chair for Psychiatry & Behavioral Sciences(2003)

                National Academy of Neuropsychology

                Association ofThreat Assessment Professionals


Course Teaching Experience

8/05 -12/21             Various Modules including psychological assessment, risk assessment,false
                        confessions, and formulating clinical opinions
                        Department of Psychiatry & Behavioral Neuroscience(Residency Program)
                        Division of Forensic Psychiatry

1/07 - 3/07             Psychology & the Law (co-instructor with Dr. Julia King)
                        Department of Psychology
                        University of Cincinnati

8/00 -12/00             Aggression
                        Department of Psychology
                        University of Nebraska - Lincoln
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12/94 - 3/95             Group Therapy: Key Concepts and Processes
                         Nebraska Department ofPublic Institutions
                         Lincoln Regional Center

9/93 - 6/94              Introduction to Clinical Psychology (taught 3 times)
                         Department of Psychology
                         University of Nebraska - Lincoln

9/91 - 8/92              Leadership & Group Dynamics (taught 4 times)
                         Department ofPsychology
                         Georgia State University

9/89 - 8/91              Contemporary Psychology(taught 10 times)
                         Department of Psychology
                         Georgia State University

Other Related Experience

Present                  The CURESZ Foundation -Board of Trustees


Present                  Reviewer for-Joumal of Forensic Sciences


Previous                 Reviewer for Schizophrenia Research. Behavioral Sciences and the Law.&
                         International Joumal ofForensic Mental Health


5/07-5/13                Police Consultant
                         University of Cincinnati Police. Served as a core member ofthe Threat Assessment
                         Team and helped design and implement the "Prevention Through Intervention"
                         program.


8/98-6/00                Organizational Consultant
                         Nebraska Department of Corrections. Facilitated Dialogue sessions with executive
                         staff and Dialogue training in correctional settings.

1/93-8/93                Organizational Consultant
                         Network Rehabilitative Services / Kansas City, MO.

2/84-6/86                 Assistant Medical Librarian
                          North General Hospital / New York, NY.

1/82-6/83                 Organizational Psychology Research Assistant
                          Columbia University, School of Business / New York, NY.

Professional Presentations


          Bebo, D., Bassil, N., Bresler, S.,& Newton, M.(September 2021). The Incel movement: Ideology
          or pathology? Virtual presentation at University of Cincinnati College of Medicine, Department of
          Psychiatry & Behavioral Neuroscience Grand Rounds, Cincinnati, OH
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   Marett, C., Henning J., Bresler, S,, Samoski, E.(recorded March 2021). #A11 ofthe apps:
   Integrating review of social media accounts in psychiatric evaluation. American Psychiatric
    Association Annual Meeting Panel Discussion.

   Henning, J., Bresler, S.,& Marett, C.(March 2021). Integrating Review of Social Media in Mental
   Health Evaluation. Virtual presentation at Beth Israel Deaconess Medical Center- Harvard Medical
    School Department ofPsychiatry Grand Rounds

   Henning, J., Bresler, S.,& Marett, C.(December 2020). Integrating Review of Social Media in
   Mental Health Evaluation. Virtual presentation at University of Cincinnati College of Medicine,
   Department ofPsychiatry & Behavioral Neuroscience Grand Rounds

    Bresler, S.(November 2020)Limiting Liability — A Clinical Forensic Psychologist Perspective.
    Virtual Presentation at the 2020 Nebraska Behavioral Health Workforce Conference, Focus on
    Forensic Mental Health: A Four-Part Series.


   Moore, J., Bresler, S.,& Newton, M.(September 2020)."Doctor: Discharge this patient. He is a
   'pain.'"(He is in pain). Virtual presentation at University of Cincinnati College of Medicine,
   Department ofPsychiatry & Behavioral Neuroscience Grand Rounds, Cincinnati, OH

    Semenick, M., England, S.,& Bresler,S.(June 2020). Assessing Fitness for Weapons Carry in a
    Sample of Public Safety Officers. Presentation (virtual) at the 55^' Annual MMPI Symposium of
    Recent Research


    Hochwalt,P., Roundtree, C.,& Bresler, S.(March 2020). A Bumblebee with HIV: Duty to Protect?
    Presentation at University of Cincinnati College of Medicine, Department ofPsychiatry &
    Behavioral Neuroscience Grand Rounds, Cincinnati, OH

    Marett, C.& Bresler S.(October 2018). Nonfatal Strangulation and Monica's Law. Presentation at
    the American Academy ofPsychiatry and the Law Annual Meeting, Austin TX

    Montazeralghaem,D,Marett, C.,& Bresler S.(October 2018). Physician Health Programs: Barriers
    and Innovations. Presentation at the American Academy ofPsychiatry and the Law Annual Meeting,
    Austin, TX

    Marett C.,& Bresler, S.(April 2018). Examining the Extremist through the Forensic Mental Health
    Lens. Presented at the Weaver Institute's Symposium on Lone-WolfTerrorism and Self-
    Radicalization, University of Cincinnati, College of Law, Cincinnati, OH

    Bresler, S.(April 2018). Assessment of Capacity in the Elderly: A Proposed Model. Presentation at
    University of Cincinnati College of Medicine, Department ofPsychiatry & Behavioral Neuroscience
    Grand Rounds, Cincinnati, OH

    Bresler, S.,& Caster, D.(February 2018). Mad (Forensic) Scientist and Murder: A Case of
    Suspected Innocence after 22 Years. Presented at the American Academy of Forensic Sciences
    Annual Scientific Meeting, Seattle, WA

    Rivendale, A., Gupta, N.,& Bresler, S.(January 2018). I Want My Husky: Exploring Regression. A
    Grand Rounds presentation at University of Cincinnati College of Medicine, Department of
    Psychiatry & Behavioral Neuroscience, Cincinnati, OH
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    Wilkes, S., Boswell, A.,& Bresler, S.(January 2018). Self-inflicted Gunshots & Suicidal Risk:
    Does Lethality Matter? A Grand Rounds presentation at University of Cincinnati College of
    Medicine, Department ofPsychiatry & Behavioral Neuroscience, Cincinnati, OH

    Bresler, S.,& Marett, C.(August 2017). Lone Actor Terrorism in Heartland USA: A Case Analysis.
    Presented at the 27*'' Annual Threat Assessment Conference(Association of Threat Assessment
    Professionals, Los Angeles Police Department(LAPD),and the LAPD Threat Management Unit),
    Anaheim, CA

    Allgood, M.,Bresler, S.,& Wygant,D.(June 2017). Ferreting Out the 'Fake Good' in Fitness for
    Duty Evaluation. Presented at the 52"'^ Annual MMPI Symposium, Minneapolis, MN

    Bresler, S.(April 2017). The Anatomy of False Confession. Presented at the Tulane University
    Forensic Psychiatry Symposium, New Orleans, LA

    Curell, J., Bresler, S.,& Blain, R.(November 2016). A Case of Conversion Disorder with Paralysis
    ofthe Lower Extremities. A Grand Rounds presentation at University of Cincinnati College of
    Medicine, Department of Psychiatry & Behavioral Neuroscience, Cincinnati, OH

    Bresler, S.(November 2016). Threat Assessment for Universities [a presentation in conjunction
    with the FBI's Joint Terrorism Task Force]. Franklin University, Columbus, OH

    Bresler, S.(October 2016). Dating Abuse,Intimate Partner Violence, Murder: A Deadly
    Development. ACTION OHIO Coalition for Battered Women,Columbus,OH

    Gillespie, G., Martsolf, D.,Byczkowski, T.,& Bresler, S.(October 2016). A Comparison ofthe
    Emotional Impact and Support Systems Following Workplace Violence. The 5*^ International
    Conference on Violence in the Health Sector 2016,Dublin, Ireland

    Bresler, S.(July 2016). Campus Threat Assessment Seminar. Provided Training for the Federal
    Bureau ofInvestigation, and area security agencies. Cincinnati, OH

    Gillespie, G., Martsolf, D., Fisher, B., Byczkowski, T., Bresler, S.,& Peek-Asa, C.(November
    2015). Does Workplace Violence Impact Resilience in a Sample of Emergency Department
    Employees? Presentation at the American Society of Criminology Annual Conference, Washington,
    DC


    Weber, K.& Bresler, S.(September 2015). Workplace Violence: What You Should (and Shouldn't)
    do to be Prepared. Presentation at the Cincinnati Bar Association's Law and Employment Law
    Symposium, Cincinnati, OH

    Collins, C., McCuistian, C., Collins, J.,& Bresler,S.(March 2015). Safeguarding Our Patients and
    Ourselves: A Multidisciplinary Integrative Approach for Outpatient Mental Health. Presentation at
    the 12''* All-Ohio Institute on Community Psychiatry, Cleveland, OH

    Bresler, S.(March 2015). Desperation for Winnings: Financial Exploitation in an Elderly Male.
    Presentation at the American Association of Geriatric Psychiatry Annual Meeting, New Orleans, LA

    Cho,J., & Bresler, S.(February 2015). Hoarding Disorder: Whose Problem is it. Anyway?
    Presentation at the American Academy of Forensic Sciences Annual Scientific Meeting, Orlando,
    FL
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    Bresler, S.(February 2015). Aggression and Interpersonal Violence in Hospital Emergency
    Departments. Presentation at the American Academy of Forensic Sciences Annual Scientific
    Meeting, Orlando, FL

    Byerly-Lamm,K., Bresler, S.,& Fox,P.(December 2014). Correctional Mental Health: Managing
    Risk for Aggression to Self& Others. Presentation at University of Cincinnati College of Medicine,
    Department ofPsychiatry & Behavioral Neuroscience Grand Rounds, Cincinnati, OH

    Ait Taouit, H., Houston, A.,& Bresler, S.(December 2014). Stealing Our Seniors* Savings: A Case
    Study in Financial Exploitation. Presentation at University of Cincinnati College of Medicine,
    Department of Psychiatry & Behavioral Neuroscience Grand Rounds, Cincinnati, OH

    Bresler, S.,& Ait Taouit, H.(September 2014). Inpatient Dialectical Behavior Therapy & The
    Borderline. A Grand Rounds Presentation at the Cincinnati Children's Hospital Medical Center,
    Cincinnati, OH

    Bresler, S.(July 2014). School Based Violence: Who,What When, Where,& Why? Presentation at
    Schneider Children's Medical Center, Israel

    Bresler, S.(June 2014). Litigating False Confession Cases: Selecting Experts & Presenting Expert
    Testimony. National Forensic College @ Cardozo Law School, New York, NY

    Bresler, S.,& Johnston, P.(May 2014). Medicine, Mental Illness, & Murder? A Grand Rounds
    presentation at University of Cincinnati College of Medicine, Department ofPsychiatry &
    Behavioral Neuroscience, Cincinnati, OH

    Bresler, S., Drizin, S., Grisso, T., LaVigne, M.,& Shear,P.(April 2014). False Confessions: Why
    do They Happen. A Weaver Symposia presentation at the University of Cincinnati, College ofLaw.

    Barzman, D.,& Bresler,S.(December 2013). Violence in our Schools: What can we do? A Grand
    Rounds Presentation at the Cincinnati Children's Hospital Medical Center, Cincinnati, OH

    Bresler, S.(August 2013). The Murderer by Your Side: Who Knew? Presentation at the Parents of
    Murdered Children Annual National Conference, Cincinnati, OH

    Bresler, S., Gaskell, M.,& Curell, J.(May 2013). The Schizo-Obsessive Patient: A Case Study.
    Presentation at University of Cincinnati, College of Medicine, Department of Psychiatry Grand
    Rounds, Cincinnati, OH

    Pinales, M.,& Bresler, S.(February 2013). The Ethics of Dealing with Experts: Defense and
    Prosecution. A Continuing Legal Education(CLE)presentation to attorneys participating in the
    National Association of Criminal Defense Lawyers Midwinter Meeting & Seminar, Washington,
    DC


    Bresler, S.(April 2012). Physical Violence Against Healthcare Workers. A keynote address @ the
    National Conference for Workplace Violence Prevention & Management in Healthcare Settings,
    Cincinnati, OH
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    Bresler, S.(March 2012). False Confessions Revisited: How Does it End? Presentation at
    University of Cincinnati, College of Medicine, Department ofPsychiatry Grand Rounds, Cincinnati,
    OH


    Wiggins, C., Wygant,D., Bresler, S.,& Juran, R.(April 2012). Can the MMPI-2-RF validity scales
    detect cognitive response bias in an inpatient psychiatric setting? A poster presentation @ the 47"'
    Annual Symposium of Recent Developments ofthe MMPI-2, MMPI-2-RF,& MMPI-A,Las Vegas,
    NY


    Bresler, S., Schmidt, R.& Juran, R.(February 2012). Malingering: Detectable, Yet Rarely
    Diagnosed. Poster presentation at the American College of Legal Medicine Annual Meeting, New
    Orleans, LA

    Bresler, S.(December 2011). Bloody and Not-so-Bloody Violence in the Workplace: How to See
    our Biggest Fear Coming and Stop it from Happening. A Continuing Legal Education(CLE)
    presentation to attorneys participating in a program entitled The Psyche at Work: Help for Lawyers'
    Worries about Employees' Mental Disorders, Trauma,& Violence. University of Cincinnati College
    of Law, Cincinnati, OH

    Gillespie, G., Gates, D., Bresler, S., Mentzel, T., Sanker, M.,& Kowalenko,T.(October 2011)
    Symptoms ofPosttraumatic Stress in Hospital Based Emergency Department Workers. Presentation
    at the European Congress on Violence in Clinical Psychiatry: Challenges for Care and Treatment,
    Prague, Czech Republic

    Bresler, S.(May 2011). False Confessions. Presentation to the Ohio State Bar Association
    Continuing Legal Education division as part ofa symposium entitled Death Penalty Defense: Trials
    and Appeals, Columbus, OH

    Ferrara, G., Cummins,D., Yoken, C., Schwallie, D.,& Bresler, S.(May 2011). Targeted Threat
    Assessment: Where Public Safety and Mental health Professionals Collaborate. Presentation at
    University of Cincinnati, College of Medicine, Department ofPsychiatry & Behavioral
    Neuroscience Grand Rounds, Cincinnati, OH

    Bresler, S., Gillispie, J., Samuels, P.,& Sanner, L.(April 2011). Dealing with Sleepless Nights:
    Handling the Stress ofInnocence Work. Presentation at the 2011 Innocence Network Conference,
    Cincinnati, OH

    Griffin, B., Bresler, S.,& Tharp, L.(March 2011). Prevention of Violence and Management of
    Agitation in Psychiatric Emergency and Inpatient Settings. Presentation at the 10"' All-Ohio
    Institute on Community Psychiatry, Cleveland, OH

    Cho, J., Bresler, S.,& Edwards, C.(February 201 l).The Psychological Autopsy: Its History,
    Applications, and Legal Ramifications. Presentation at the American Academy of Forensic Sciences
    Annual Meeting, Chicago,IL

    Gilday, E., & Bresler, S.(February 2011). Necrophiliac as a Morgue Attendant: Paraphilia in the
    Dead of Night. Presentation at the American Academy of Forensic Sciences Annual Scientific
    Meeting, Chicago,IL
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    Lukasik, D., Bresler, S., Wulsin, L.,& Garry,P.(October 2010). Stress, Anxiety & Depression in
    the Legal Profession: What's the Problem & What Can We Do About It? Presentation at the
    Cincinnati Bar Association, Cincinnati, OH

    Farrell, H.,& Bresler, S.(May 2010). Intimate Partner Violence: Assessing for Risk & Effective
    Management. Presentation for the Ohio Department of Mental Health(Summit Behavioral
    Healthcare).

    Farrell, H.,& Bresler, S.(February 2010). Intimate Partner Violence: Tracking the Development of
    a Killer through Love Letters. Presentation at the American Academy of Forensic Sciences Annual
    Scientific Meeting, Seattle, WA

    Farrell, H.,& Bresler,S,(January 2010). Intimate Partner Violence: Tracking the Development of a
    Killer through Love Letters. Presentation at University of Cincinnati, College of Medicine,
    Department ofPsychiatry Grand Rounds, Cincinnati, OH

    Schmidt, R., Bresler, S.,& White, C.(September 2009). Malingering: Definition, Detection,&
    Disposition. Presentation at University of Cincirmati, College of Medicine, Department of
    Psychiatry Grand Rounds, Cincinnati, OH

    Bresler, S.(September 2009). The Forensic Psychiatrist / Forensic Psychologist in the Criminal
    Courts. A presentation at The Greater Cincinnati Criminal Defense Lawyers Association meeting
   (for continuing legal education credit)

    Bresler, S.(May 2009). False Confessions. A presentation to the Ohio State Bar Association
    Continuing Legal Education division as part of a symposium entitled Death Penalty Defense: Trials
    and Appeals

    Bresler, S.(March 2009). Nuts & Bolts ofPolice Interrogation: Who,What, When, Where,&
    Why? A presentation as part ofa symposium sponsored by University of Cincirmati's College of
    Law,Glerm M. Weaver Institute ofLaw and Psychiatry and the College of Medicine entitled
    Interrogations and False Confessions: Social Science Confronts the Law

    Bresler, S.(January 2009). Targeted Risk Assessment: Stress in the Workplace. Psychiatry News &
    Case Reviews(The University Hospital), Cincirmati, OH

    Bresler, S.,& Casey. E.(January 2009). Conflict Resolution in the Work Environment. Cincirmati
    USA Regional Chamber Safety Council, Loveland, OH

    Bresler, S.,& Stephani, A.J,(December 2008). Competence to Make Medical Decisions: Legal and
    Clinical Perspectives. Presentation at University of Cincirmati, College of Medicine, Department of
    Psychiatry Grand Rounds, Cincirmati, OH

    Palumbo, T., Bresler, S., McMurtrie, J., & Keram,E.(October 2008). Assessing Confession
    Evidence: Police Coercion or Valid Admissions of Guilt? A workshop conducted at the American
    Academy ofPsychiatry and the Law Armual Meeting, Seattle, WA

    Bresler, S.,(February 2008). Model for Ethical Decision Making: A Framework for Analysis.
    Presentation for the Forensic Lecture Series at Summit Behavioral Healthcare, Cincirmati, OH
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    Bresler, S.,& Palumbo, T.(November 2007). False Confessions to Murder: A Forensic Case
    Analysis. Presentation at Cincinnati Children's Hospital Medical Center, Child Psychiatry Grand
    Rounds, Cincinnati, OH

    Bresler, S.,& Palumbo, T.(September 2007). False Confessions to Murder: A Forensic Case
    Analysis. Presentation at University ofCincinnati, College of Medicine, Department ofPsychiatry
    Grand Rounds, Cincinnati, OH

    Bresler, S.,(August 2007). Assessing Malingering: The Validity Indicator Profile. Presentation for
    the Forensic Lecture Series at Summit Behavioral Healthcare, Cincinnati, OH

    Bresler, S., King, J.(March 2007). Familicide in the Elderly: Mercy or Murder? Presentation at
    University of Cincinnati, College of Medicine, Department ofPsychiatry Grand Rounds, Cincinnati,
    OH


    Bresler, S.,(March 2007). Familicide in the Elderly: Mercy or Murder? Presentation for the
    Forensic Lecture Series at Summit Behavioral Healthcare, Cincinnati, OH

    Bresler, S.,& King, J.(February 2007). Familicide in the Elderly: Mercy or Murder? Presentation
    at the American Academy of Forensic Science, San Antonio,TX

    Bresler, S.(October 2005). Assessing Competence to Consent to Treatment. Presentation at Dreike
    Center, Grand Rounds, Cincinnati, OH

    Bresler, S.(September 2005). Dangerous Business: Identifying Potential Threats. Presentation at
    the Mental Health Association of Clermont County, Batavia, OH

    Bresler, S.(August 2005). The Construct ofPsychopathy. Presentation for the Hamilton County
    Juvenile Court Public Defender's Office, Cincinnati, OH

    Bresler, S., Raspanti, J., & Cannizzaro, L.(February 2005). Ethical Considerations in Working with
    Capital Murder Defendants: Perspectives from the Defense Lawyer, Forensic Evaluator, and the
    Bench. Presentation at the American Academy of Forensic Sciences Annual Scientific Meeting,
    New Orleans, LA

    Bresler, S.(February 2003). Determining Clinical Criteria for Use in Evaluations of Sexually
    Violent Offenders: Exploration of Case Examples. Presentation at the American Academy of
    Forensic Sciences Annual Scientific Meeting, Chicago,IL

    Bresler, S.,& Holm, J.(February 2002). False Confessions: Guidelines for Evaluation. Presentation
    at the Americein Academy of Forensic Sciences Annual Scientific Meeting, Atlanta, GA

    Osbome, L., Bresler, S.,& Scalora, M.(March 2000). Neurocognitive Assessment of Risk:
    Decision Making & Psychopathy. Presentation at the American Psychology Law Society Biennial
    Conference, New Orleans, LA

    Anderson, A., Fettman, M.,Bresler, S., Hodes, M.,& Childs, B.(October 1999). Ethical Issues in
    Geriatric Forensic Evaluations: Presentation of the Geriatric Psychiatry and the Law Committee.
    Presented at the Annual Meeting ofthe American Academy ofPsychiatry and the Law,
    Baltimore, MD.
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                                                                                                        11




       Bresler, S.(February 1999). The Use of Neuropsychological Testing in Forensic Evaluations.
       Presented at the American Academy ofForensic Sciences Annual Scientific Meeting, Orlando, FL.

       Bresler, S.(June 1998). Post Traumatic Stress Disorder and the Aging Veteran. Presented at the
       Department of Veterans Affairs, Readjustment Counseling Services Training, Indianapolis, IN.

       Bresler, S.(April 1998). Malingering Revisited: Update on Strategies for Detecting the Malingerer.
       Presented at the Annual Missouri Forensic Services Workshop, Lake Ozark, MO.

       Bresler, S.,& Washington,D.(Febmary 1998). Hyperparathyroidism and Psychosis: A Mass
       Murder That Almost Happened. Presented at the American Academy of Forensic Sciences Annual
       Scientific Meeting, San Francisco, CA.

       Bresler, S., Scalora, M.,& Washington,D.(February 1998). Unmasking the Malingerer. Presented
       at the American Academy of Forensic Sciences Annual Scientific Meeting, San Francisco, CA.

       Bresler, S.& Rohling, M.(November, 1997). Ethical Considerations for Clinical Assessment of
       Competency with the Elderly. A poster presentation at the Gerontological Society of America
       Annual Scientific Meeting,Cincinnati, OH

       Bresler, S.& Scalora, M.(April 1997). Detection of Malingering in Forensic Mental Health
       Assessments. Presented at the Aimual Missouri Forensic Services Workshop, Lake Ozark, MO.

       Bresler, S., Spaulding, W.,Reed, D.,& Grimmell,D.(November 1995). A typological analysis of
       neurocognitive variables in a schizophrenic sample. A poster presentation at the Conference ofthe
       National Academy of Neuropsychology, San Francisco, CA

       Lam, M., Rohling, M.,Ficek, S., Grimmell, D.,& Bresler, S.(November 1995). The relationship
       between caregivers' assessments and neuropsychological screening. A poster presentation at the
       Conference ofthe National Academy of Neuropsychology, San Francisco, CA

       Bresler, S.(October 1991). Teaching the mental game in sports: A coping resources model.
       Presented at the Georgia Educational Research Association Annual Meeting, Atlanta, GA.

Publications


       Rutherford, D., Smith, C., Bresler, S.,& Gillespie, G.(2020). Emotions and feelings evoked in
       nursing students exposed to bullying behaviors in clinical settings. Joumal of Nursing Education and
       Practice, 10(11), 54-64. doi:10.5430/jnep.vl0nllp54

       Hart, K., Lauch, M.,& Bresler, S.(April 2017). Predictors of Treatment Completion and
       Recidivism among Intimate Partner Violence Offenders. Joumal of Aggression, Maltreatment &
       Trauma, 1-15.

       Bresler, S.& Gaskell, M.(2015). Risk assessment for patient violence against health care workers:
       Analysis of three case studies. Work: A Joumal ofPrevention, Assessment, and Rehabilitation,
       51(1), 73-77.

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